
PER CURIAM.
We deny this petition for writ of common law certiorari which seeks to set aside an order of the trial court compelling the defendant/petitioner to produce copies of records of other patients who underwent certain specified procedures on the same day as the plaintiff’s decedent. Ventimiglia v. Moffitt, 502 So.2d 14 (Fla. 4th DCA 1986). The trial court included a provision in its order for the deletion of the names of the other patients before the records were released to counsel. As stated in Ventim-iglia, we believe the trial court acted within its discretion in permitting discovery of relevant material while protecting the confidentiality of the other patients. Id. at 15.
LETTS, GUNTHER and POLEN, JJ., concur.
